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McGREGOR W. SCOTT
United States Attorney
AUDREY B. HEMESATH

| HEIKO P. COPPOLA

Assistant United States Attorneys

501 I Street, Suite 10-100

Sacramento, CA 95814 ,
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Facsimile: (916) 554-2900 AUG 14 2018

CHRISTOPHER J. SMITH - CLERK, U.8. DISTRICT COURT

. . . EASTERN DISTRICT OF CALIFORNIA
Acting Associate Director ey
JOHN RIESENBERG DEPUTY CLERK a
Trial Attorney

Office of International Affairs
Criminal Division

U.S. Department of Justice
1301 New York Avenue NW >

|| Washington, D.C. 20530 4rN £ |
Telephone: (202) 514-0000 ki |

Attorneys for Plaintiff _
United States of America

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
IN THE MATTER OF THE EXTRADITION | CASENO. #18-MJ-0152 — EFB
OF OMAR ABDULSATTAR AMEEN .
TO THE REPUBLIC OF IRAQ

UNDER SEAL

 

COMPLAINT
(18 U.S.C. § 3184) |

I, the undersigned Assistant United States Attorney, being duly sworn, state on information and

belief that the following is true and correct:

1. In this matter, I represent the United States in fulfilling its treaty obligations to the
Republic of Iraq.
2. There is an extradition treaty in force between the United States and Iraq, Extradition

1 Complaint

 
 

 

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Treaty Between the United States of America and Iraq, U.S.-Iraq, June 7; 1934, 49 Stat. 3380 (the
“Treaty”). .

3. Pursuant to the Treaty, the Government of Iraq has submitted a formal request through

diplomatic channels for the extradition of OMAR ABDULSATTAR AMEEN (“Ameen”).

4, According to the information provided by the Government of Iraq, Ameen has been
charged with premeditated murder, in violation of Article 406 in the Iraqi Penal Code No. 111 of 1969.
5. Ameen is accused of committing this offense within the jurisdiction of Iraq. A judge of
the Baghdad Federal Al-Karkh Appellate Court issued a warrant for Ameen’s arrest on May 16, 2018.
6. The warrant issued on the basis of the following facts: a

a. On or about June 21, 2014, the terrorist organization Islamic State of Iraq and ash-
Sham (“ISIS”) entered the Rawah District of Al-Anbar Province, Iraq and seized control,
erecting checkpoints and preventing citizens from entering or leaving the District.

b. On or about June 22, 2014, at around 7:00 p.m., a four-vehicle ISIS convoy
comprised of several individuals, including Ameen, arrived at the residence of the victim.
Members of the convoy opened fire. In response to the attack on his home, the victim returned
fire with his Kalashnikov rifle.

| c. Ameen then fired his weapon at the victim while the victim was on the ground. A
death certificate issued by the Rawah hospital confirms the victim’s death by gunshot to the
chest. a

d. ISIS announced the killing via a post on social media.

e. A witness to the murder identified Ameen as the person who killed the victim by
reference to a photograph of Ameen.

7. Ameen may be found within the jurisdiction of this Court at 3111 Eastern Ave, Apt 26,
Sacramento, California 95821. .

8. Tom Heinemann, an attorney in the Office of the Legal Adviser of the U.S. Department
of State, has provided the U.S. Department of Justice with a declaration authenticating a copy of the
diplomatic note by which the request for extradition was made and a copy of the Treaty, stating that the

offense for which extradition is sought is provided for by the Treaty, and confirming that the documents

2 Complaint

 

 
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oo Ua A A fF YD NH F&F SF Oe AA A BB DD P KK BS

 

 

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supporting the request for extradition are properly certified by the principal U.S. diplomatic or consular
officer in Iraq, in accordance with 18 U.S.C. § 3190, so as to enable them to be received into evidence.

9. The declaration from the U.S. Department of State with its attachments, including a copy
of the diplomatic note from Iraq, a copy of the Treaty, and the certified documents submitted in support
of the request, (marked collectively as Extradition Packet, Government’s Exhibit 1) are filed with this
Complaint and incorporated by reference herein. Also filed with this Complaint is a redacted version of
the Extradition Packet (Government’s Exhibit 2) that is contemplated to be filed on the public docket
upon the unsealing of the Arrest Warrant and Complaint. | |

10. | Ameen would be likely to flee if he learned of the existence of a warrant for his arrest.
Accordingly, the United States requests that this Complaint and Arrest Warrant remain sealed until such
time as the warrant is executed. | |

WHEREFORE, the undersigned requests that a warrant for the arrest of the OMAR

ABDULSATTAR AMEEN be issued in accordance with 18 U.S.C. § 3184 and the extradition treaty

between the United States and Iraq, so that the fugitive may be arrested and brought before this Court to
the end that the evidence of criminality may be heard and considered and that this Complaint, the
Warrant, the Extradition Packet, and the Redacted Extradition Packet be placed under the seal of the
Court until such time as the warrant is executed.
Dated: August 14, 2018 , McGREGOR W. SCOTT
United States Attorney

By:

 

AUDREY B. HEMESATH
Assistant United States Attorney

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3 Complaint

 

 
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Case 2:18-mj-00152-EFB Document 1 Filed 08/14/18 Page 4 of 94

Sworn to before me and subscribed in my presence trisAly of August, 2018, AND A
WARRANT SHALL ISSUE.

Cp
J, ike Honorable Edmiind F. Brennan
UNITED STATES MAGISTRATE J UDGE.

4 - Complaint

 

 
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Government’s Exhibit 1

UNDER SEAL, Copy on File in Chambers of Judge Brennan |
- Case 2:18-mj-00152-EFB Document1 Filed 08/14/18 Page 6 of 94

Government’s Exhibit 2
  
    

 

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Case 2:18-mj-00152-EFB° Document 1 Filed 08/14/18 Page 7of94 |

 

 18050889-1

~ United States of America.

 

DEPARTMENT OF STATE

To all to whom these presents shall come, Greetings:

That Tom Heinemann, whose name is subscribed to the document hereunto annexed, was
e of subscribing the same Attorney Adviser, Office of the Legal Adviser, Department of.
ed States of America, and that full faith and credit are due to his acts as such.

This certificate. is not vali ‘fit is removed 0 or altered in many way whatsoever

In testimony whereof, I, Michael R. Pompeo,.Secretary of State , .
have hereunto caused the seal of the Department of State-to be
affixed and my name subscribed by the Assistant Authentication’
Officer, of the said Department, at the city of Washington, in the
District of Columbia, this twenty-sixth day of July,2018.  *

Wine 2%

By_

 
    

Agsittant| uthentication Officer, _
‘Department of State
000001 Dep

 

 

 
Case 2:18-mj-00152-EFB Document 1 Filed 08/14/18 Page 8 of 94

DISTRICT OF COLUMBIA, ss:

DECLARATION OF TOM HEINEMANN

- IL, Tom Heiriemann, declare and say as follows:

1. lam the Assistant Legal Adviser for the Office of Law Enforcement and Intelligence i in
the Office of the Legal Adviser forthe Department of State, Washington, D.C. This office has
responsibility for extradition requests, and I am charged with the extradition dase of Omar
. Abdulsattar Ameen Husayn al-Rawi. I make ‘the following statements based upon my personal -

knowledge and upon information made available to me-in the performance of my official duties.
2. In accordance with the provisions of the extradition treaty in full force and effect.
between the United States and Iraq, the Embassy of the Republic of Iraq has submitted
| Diplomatic Note runeaber EMB-2018-045, dated July 6, 2018, requesting the extradition of Oniar
‘Abdulsattar Ameen Hhisayn al-Rawi. A copy of the diplomatic note is attaclied to this
declaration. | | es |

.3. The relevant and applicable treaty.provisions in full force and effect between the United

States and Iraq are found in thie Extradition Treaty between the Kingdom of iraq and the
Republic of the United States of America, ‘signed Jane 7, 1934 (the “Treaty”), A copy of the
| Treaty i is attached to this declaration: |

4, The offense for which extradition is sought is covered by Article II of the Treaty.

6. Tn accordance with Article XILof the Treaty, the Government of the United States

provides legal’ representation inthe United States courts for Iraqi in its extradition requests, and

| _ Iraq provides legal represetitation i in its courts for extradition requests made by the United States.

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Case 2:18-mj-00152-EFB Document 1. Filed 08/14/18 Page 9 of 94

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7. The documents submitted by the Government of the Republic of iraq in support of its |
extradition request were certified on July 18, 2018, by Douglas A. Silliman, Ambassador of the
United States to Iraq, in accordance with Title 18, United States Code, Section'3190, |
Ambassador Silliman, at the tine of his certification, was the principal diplomatic officer of the
United States in the Republic of Iraq. |
{declare under the penialty of perjury that the foregoing is true and correct to the best of

 

 

my knowledge. co th
oo ff
Executed on July af 2 2018.
- Attachments: -
- 1. Copy of Note —
2. Copy of Treaty .
 

  

 

 

2:18-mj-00152-EFB: Document 1 Filed 08/14/18 Page 10 of 94

 

 

 
   

  
 

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“TREATY SERIES, No. 907. ~

 

‘EXTRADITION ©

 

co, “TREATY
BETWEEN THE UNITED STATES OF AMERICA,
_AND HRAQ

Signed « at Baghdad, June 7, 1934.
Ratification advised by the Senate of the United States, February 6 6,
Ratified by ihe Président ‘of the United States, February ‘25, 1985.
Ratified by Irag, April 22,1936. - .
. Ratifications exchanged at: Baghdad, April 23, 1996, .
: Proelaimed by-the President of the United States, April 28, 1986..

 

UNITED STATES
GOVERNMENT PRINTING OFFICE
WASHINGTON : 1936

 

 

 

Page 11 of 94

 

 

 

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Por sale by the Superintendent of Decuments, Washington, D.O. - © - = ~- = = 9.» Priceb cents

 

 

 
 

 

 

By rue Presmenz or rae Unrren Srares or Amentca.

A PROCLAMATION.

Wauensas an. Extradition Treaty between the United. States of
. America and the Kingdom-of Iraq was concluded and signed by

‘their respective Plenipotentiaries at Baghdad, on the seventh ‘day. . / :

-of June, one thousand nine hundred and thirty-four, the original .
- of which Extradition Treaty, being in the En glish | and Arabic’ lan-
_ guages is word for word as follows: ~ . .

“EXTRADITION TREATY BETWEEN THE KINGDOM OF
IRAQ AND THE REPUBLIC OF THE UNITED STATES
Or AMERICA,

The President of the United States of América on the one ‘part .

' -and His Majesty the King of Iraq on the other part |

' ‘Being desirous to conclude a ‘Treaty for the extradition of crimi-
-nals, have appointed the following Plenipotentiaries :

“The President of the United ‘States of America:
‘~ “Paul Knabenshue, Minister Resident’ of the, United ‘States of

- America in Baghdad

 .His Majesty the King of Traq: ©
His Excellency Doctor Abdullah Beg al Damluji, Minister for
_ Foreign Affairs,

Who, after having conimunicated to each other their respective
“full powers, found in good and due form, have agreed upon the fol-
-lowing articles:. . .

7 Anmcie I-. ,

‘Agréament has been reached between:the High: Contrasting Parties
“to deliver up to each other reci procally, upon ‘mutual requisition
duly made pursuant to the provisions of Treaty, ‘any -person
- charged with or convicted of any of the crimes specified in Article IL

of this Treaty committed within the jurisdiction of one-of-the. High
Contracting Parties while said-person was actually” -within’:such
jurisdiction when committing the crime and-who shall be found
within the territories of the other High Contracting Party, provided
“that such surrender shall take place only i in the ollowing circum-
‘ebtanees we
a) When: the erson whose surrender i is rec yuested i ig charged with
_vaerime, provided. there shall be produced sufficient evidence, accord-
- ing to the laws of the country where that-person is found, to justify
“his” apprehension. and commitment for ‘trial if the exime had been
‘there committed. ;
6619036 _ (1)

 

 

 
 

 

 

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(2) When the person whose surrender is requested has been duly

“convicted, and when sufficient evidence is produced to prove that the

"persons

 gajd person is actually the person convicted.

‘Arricten IT ;

‘Persons shall be delivered up according tothe provisions of this
‘Treaty, who shall have been charged with or convicted of any of
the following crimes if they are punishable by the laws of both
countries: So So

1, Murder, includizig parricide, assassination, willful murder with
premeditation, manslaughter when committed voluntarily by the
perpetrator, and. also the crimes of poisoning or infanticide.

' 9. The ettempt to.commit murder. _ TO Lo

3. Rape, abortion, carnal knowledge of ‘children under the age of
12 years. , vo .

4, Illegal polygamy. ;

5. Arson. _ . ce

“6. Any malicious act done with intent to endanger the safety of
veling or being: on railroads.

7. Crimes committed at sea:

(a) Piracy, as commonly known and defined by the law of
. . _ mations, or by statute; | coe
(6) Willfully sinking or destroying vessels at sea or attempting
to do 50; . . ;

(c)} Mutiny or conspiracy by two or more members. of the crew

-or other persons on. board of a vessel.on the high seas for

the purpose of rebelling against the authority of the cap-

_tain or commander of such vessel, or by fraud or violence

; taking possession of such vessel; == Lo vo

(d) Assault on board ships with intent to. do bodily harm.

- §. Burglary, defined to be the act of breaking into and entering the

_ house of another in the night with intent to commit 4 felony. therein.

9, The act of breaking into and entering into the officés of the Gov-

~ ernment and public authorities, of the offices of banks, banking houses,

_. savings banks, trust companies, instrance- companies, or other build-

ings not dwellings with intent to.commit a felony therein.

.. 40;"Robbery, defined: to. be the act of feloniously and forcibly .or
‘unlawfully taking from the person of another, goods or money by

‘violence or by putting him in-fear. _ - ae

41, Forgery or the utterance ot the use of anything forged. .
12.:The forgery or falsification of the official acts of the Govern-
ent or public authority, including courts of justice; or the uttering

or frandulent use of the same.

-- 18. The fabrication of counterfeit money, whether-coin or-paper,
. counterfeit titles or coupons of public debt, created by national, state,

. provincial, territorial, local, or municipal governments, banknotes or

other. instruments of public. credit; also counterfeit seals, stamps,

dies, and marks of state-or public. administrations, and the utterance,
circulation, or fraudulent use of the-above mentioned. objects.

_ 14. Embezzlement and-malversation committed within the jurisdic-
tion of one or the other High Contracting Party by public officials

 

 

 
 

 

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er depositaries, where the amount embezzled exceeds one hundred —

and fifty American Dollars or forty drag Dinars.
15. Embezzlement-by persons hired, salaried, or employed, to the
detriment of their employers or principals, and where the amount
- embezzled exceeds one hundred and fifty American Dollars or forty
Iraq Dinars. a oo ae
' 46, Kidnapping of minors or adults, defined to be the abduction or
detention of.a person or persons, in order to exact. money from them
‘or their families, or for any other unlaivful end. ;
17. Larceny, defined to be the theft of effects, personal property,
or money, exceeding in value one hundred and fi y American Dol-
lars or forty Traq Dinars. ee ,
18. Obtainmg money, valuable securities or other property by
. false pretetises Or receiving any money, valuable securities or other
property knowing the same to have been unlawfully obtained, where.
the amount of money or the value of the property so obtained or
received exceeds one hundred and fifty American Dollars or forty

iraq Dinars.

- 19. Perjury or subornation of perjury. . .
. 90. Frand or breach of trust by a bailee, banker, agent, factor,
trustee, executor, administrator, guardian, director, or official of any
company or corporation, or by. anyone in any fiduciary position,
where the amount of money or the value of the property misappro-
priated exceeds one hundred and fifty American Dollars or forty

 

Iraq Dinars.
91. Bribery,
' 99. Crimes punishable by the bankruptcy laws.
23. Crimes punishable by the laws for the suppression of the -
traffic in narcotics.
94. Crimes punishable by the laws for the suppression of slavery
and slave trading. ane . .
_ 25. Extradition shalt also take place for participation in any of the
“aforesaid offences ‘as an.accessory before or after the fact, provided
such articipation be punishable by imprisonment by the laws. of —
both High Contracting Parties even though after the fact it may be
a crime within itself and mown by’s particular name im the laws of
either of the Contracting States. . .

Lo Artiore TIT 7
The previsions of this Treaty shall not import claim of extradition
- for crimes of a political character nor for acts connected with such
crimes; and no person surrendered by or to either of the High Con-
tracting Parties in virtue of this Treaty shall be tried or punished
for a political crime. When the crime charged comprises the act
_ either of murder or assassination or of poisoning, either consummated
. or attempted, the fact that the crime was committed or attempted
against the life of the sovereign or head of a foreign state or against
the life of any member of his family, shall-not be deemed sufficient
to sustain that-such-s crime was of a political character, or was an

ack connected with crimes of a political character.

 

 

 

 

 

 
 

 

 

 

 

 

 

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No person surrendered shall be tried for any erime other than:
that for which he was surrendered without the consent. of the sur--
rendering .High Contracting Party, unless he has been at liberty-
to leaye the country oné month after the date of his trial, or, in
case of conviction, after having suffered his, punishment or having:
. been-pardoned. co 7

- “This Article shall not be applicable to crimes committed after

the surrender. oO . Loo
: Co - Agrieps V - CO
"A fugitive criminal shall not: be surrendered under the provisions.
of this Treaty, when from lapse of time or other lawful cause; ac- .
cording tothe laws of the place within the jurisdiction of which. -
the crime was committed, the criminal is exempt from prosecution or:
punishment for the crime for which the surrender 3s asked.

Articre VI
If a fugitive criminal whose surrender is claimed pursuant to the
stipulations of this Treaty, be actually under prosecution, out on
bail or in custody, for a crime committed in the country where he
has sought asylum, or shall have been convicted thereof, his extra-
dition may be deferred until such proceedings be determined, and.
_ until ‘he shall have been set at liberty in. due course of law.

Anrione vit-

If a- fugitive criminal claimed by one of the High Contracting:

‘ Parties shall be also claimed by one or more powers-pursuant to |
‘Treaty provisions, on account of crime committed “within, their juris-
‘diction, such criminal shall be delivered to that state whose demand.
js first received unless that state shall have abandoned its claim.

_ Under -the stipulations of this Treaty, neither of the High Con- ~
tracting Parties shall'be bound to deliver up its own citizens.
The expense of the arrest of the person claimed, also the expense:
of his detention, examination and. transportation shall be paid by
thé state which has preferred the demand for extradition.

oo Arnone X .

. _ Everything found in the-possession of the fugitive critninal at the:
time of his arrest, whether being the proceeds’ of the crime, or which

 

may be material as evidence in making proof of the crime, shall, so * ~

. far.ag practicable, according to the laws of the High Contracting
Parties, be delivered up with his person at the time.of the surrender,
Nevertheless, the rights of a third party with regerd to the articles
aforesaid shall be-duly respected. Co

 

 

 
 

 

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The stipulatiovs of this Treaty shall be applicable to all territory
wherever situated, belonging to either of the High Contracting Par-
ties or in the occupancy and under the control of either of them, dur-

‘ing such oecupancy or control. . -

“Requisitions for the surrender of fugitive criminals from justice

pursuant to the stipulations of this Treaty shall be made by diplo-

matic intercourse. a ,

The arrest of the fugitive criminal shall be brought about in accord-
ance with the laws of the country to which the request is made, and
df, after an examination, it shall be decided, according to the law and |

evidence, that extradition is due pursuant to this Treaty, the fugitive
criminal shall be surrendered according to thie forms of law prescribed.
in such cases, oe .

_ _ The person provisionally arrested shall be released, unless within
three months from the date of-arrest in Iraq, or from the date of
commitment in the United States of America, the formal requisition
for surrender with the documentary proofs hereinafter prescribed

'. be made as.aforesaid.

Tf the fugitive criminal shall have been convicted of the crime
for which his surrender is asked, a copy of the sentence of the court -

'- before which such conyiction took place, duly autheriticated, shall ~

: be Pr atuced.

_ Lf, however, the fugitive criminal is merely charged with crime,.a
duly authenticated copy of the warrant of arrest in the country where
tlie crime was committed, and copies of the depositions upon which
-sach warrant may have been issued, shall be produced, with such
other evidence or proof ag may be deemed competent in the case.

For the purpose of this Treaty, judgment in default shall not be
‘eonsidered as conviction but the person so convicted may be con-
sidered merely as charged with the crime. ;

Oo, Ariotes ATT ;
If a request.is made by either of the High Contracting Parties for
the arrest, detention or extradition of fugitive.criminals, the appro-
priate legal officials of the country where the proceedings of extradi-
tion are held, shall assist the officials of the High Contracting Party
demanding the extradition before the appropriate. judges and magis-
trates, by every legal means within their power; and no claim for
compensation for the services so rendered shall be made against the _
High Contracting Party demanding the extradition; provided, how-
.-eyer, that-any official or officials of the surrendering High Contract-
ing Party so giving assistance who shall, in the course of their duty,
receive no salary or compensation other than specific fees for services
performed, the High Contracting Party demanding the extradition
- shall pay such official or officials the customary fees for the acts or
services performed by.them, in the same manner and to the same
., amount as though such acts or services had been performed in
- ordinary criminal proceedings‘ under the laws of the country of

» . which they are officials.

 
 

 

 

 

 

 

 

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Anricen XT

This Treaty shall be ratified by the High Contracting Parties in
uecordance with their respective constitutional methods and shall
take effect from the day of the exchange of the ratifications thereof;
but either High Contracting Party may at any time terminate the
Treaty on giving to the other six months? notice of its intention to

© so

The ratification of the present Treaty shall be exchanged at Bagh-
dad as soon as possible. :

In witness whereof the respective Plenipotentiaries have signed
this Treaty, and have hereunto affixed their seals. -

Done in duplicate in Arabic and English, of which in the case
of divergence, the English text shall prevail, at Baghdad this sev-
enth day of June, 1934 corresponding with the. twenty-fourth day
of Safar, 1853 Hijreh.

Aspuinan au Dasmost Pavt Kxapenseur
[Signature in Arabic]

[snan] - . | [sean]

 

 

 

 

 
 

 

 

‘Ann wnenzas the said Extradition Treaty has been duly ratified .
"en both parts, and the ‘ratifications of the two Governments were
exchanged in the City of Baghdad, on the twenty-third day of
April, one thousand nine hundred and thirty-six; .
Now, ruereronz, be it known that I, Franklin D, Roosevelt, Presi-
‘dent of the United States of America, have caused the said Extra-
dition Treaty to be made. public, to the end that the same and every
«-paticls and clause’ théreot may be observed and fulfilled with, good |
~ ” ‘faith by the United States of America and the citizens thereof.

“>, " Ev resrmony waumreor, I have hereunto set my hand and caused
the Seal of the’ United States of America to be affixed.
_. Dorn at the city of Washington thig twenty-eighth day of April,
es in the year of our Lord one thousand nine hundred and

[sau] thirty-six, and of the Independence of the United States,
‘of America the one hundred and sixtieth. oo -
Franxuiw’D Rooseverr -
By the President: Ls
. Corvern, Hon
Secretary of State,

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Case 2:18-mj-00152-EFB Document1 Filed 08/14/18 Page 19 of 94
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BEPARTHENT GF-STATE.

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FE MIB-2018-045

the Embassy af the Republic of Iraq in] Washington DC presents its
comphments toa the United States Depariment of State. Office af the Legal
Adviser and has the honor to enclose the extradition case file of Ona
Apdulsattar Ameen Husavn al-Rawi, and requesting the kind assistance of
the US competent authorities in the extradition of the ahove-memioned in

quiestion to stand trial.

the Embasss of the Republic of Traq avails itse!'f of this opportunity to
renew to the US Department of State. Office of the Lezal Adviser the

assurances cH is hiphest consideration.

July 6, 2018
Washinaton [9.C.

'S Department of States
Osfice of the Legal Advisor .
Washington D.C. .

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Fax IRS Su ks 74

      

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Case 2:18-mj-00152-EFB Document 1 Filed 08/14/18 Page 20 of 94

   

- U.S. Department of State

CERTIFICATE TO BE ATTACHED TO DOCUMENTARY
EVIDENCE ACCOMPANYING REQUISITIONS IN
THE UNITED STATES FOR EXTRADITION

 

 

   

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AMERICAN FOREIGN SERVICE
U.S. Embassy Baghdad, Iraq SS 07-18-2018
Place and Date (mm-dd-yyyy) -
l Douglas A. Silliman . _ Ambassador |
Name - ” Title
the United States of America at "the United States Embassy in Baghdad, Iraq

 

eby certify that the annexed papers, being presented
\ the Ministry of Foreign Affairs of the Republic of iraq,

hy

posed to be used upon an application for the extradition from the United States of America
nar Abdulsattar Ameen aka Omar Abdulsattar Ameen Husayn al Rawi

ged with the crime of | _turder

 

hed to have been committed in — __ _ iraq

p operty and legally authenticated so as to entitle them to ba received in evidence for similar purposes by
Mounals of Republic of Iraq _ |

by Title 18, United States Code, Section 3190.

ness whereof ( hereunto sign my name and cause my seal of office to be affixed

day of ; _Iuly 2018 .
° Month and Year

  
    

Signa rl

Douglas A. Silliman, Ambassador to traq
Type Name and Title of Certifying Officer
of the United States of America.

 

 

DS-0036

05-2017 o00014

 
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in the name of Allah the Mercul the Companionate

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Republic of iraq’ Number/S/2018 11516
Higher Judicial Council . ; 6/4/2018 ©
Presidency of the Public Prosecution .
Extradition Section .
Very Urgent
Higher Judicial Council/General Relations and Legal Affairs Department
General Relations Section

Prerity/The accused Iraqi (Omar Abdulsattar Ameen Husayn al-Rawi)}

Greetings, .

We attach for you herein the extradition file associated with the accused mentioned above. The file was
brought to us along with the letter number (213) by Al-Karkh inquiry Court, which specializes in
terrorism cases, on 6/3/2018. We kindly request that you confirm receipt for the purpose of transiating
it to the English language, and then return it as soon as possible to us sa we are able to direct our
procedures in accardance with the law.

With our appreciations © = | (5126/864!
Judge

Muwaffaq Mahmud Muhammad Salih
Chief Public Prosecutor

6/4/2018

 

[Signature]

6/4/2018

 

[Head of Genera! Relations}
Attachments/Extradition file
Copy to//

* = Al-Karkivinguiry Court, which specializes in terrorism cases. Painting to your letter above with
appreciation.

* Ministry of the interior/Arab and International Police Directorate/We attach herewith the
information bulletin and the arrest warrant associated with the above mentioned accused ta

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prosecute him for the charge against him in accordance with the provisions of article (400/1/A)
in the Iraqi Statute. We kindly request that you confirm receipt and inform us in case he is
arrested, so we are able to direct our procedures in accordance with the law. With our
appreciation.

Priority/ (3) Original copies of information bulletin and arrest warrant along with their
attachments. ,

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In the name of Allah the Mercitul the Comparuanate

 

Your Excellency the president of the High Judicial Council
‘Greetings,
Reference to the judicial order number (2063/office/2008) on 12/24/2008 AD.

“Due to the extradition file’s fulfilment of the conditions and standards assaciated with the
accused. (Omar Abdulsattar Ameen Husayn al-Rawij, as stated in the eleventh article in the
Legal and Judicial Agreement between Iraq and the United States of America and ratified by
statute number 12 for the year 1936.

Please grant approval to certify it for the purpose of submitting it to the American judicial
authorities by way of diplomatic channels to consider the matter of extraditing him to our.
authorities on the basis of the case in the request, which is in accordance with the provisions of
article 406/1/A in the lraqi Statute. .

Please review and decide as you see fit.

~ Sincerely.

 

ludge [Signature] ; {Handwritten which states
Muwafaq Mahmud Muhammad Salih “approved with appreciation”
Chief Public Prosecutor {iL] 6/4/2013}

— 6/4/2018

inthe name of Allah the Merciful the Companionate

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[Logo of the High Judicial Council]
Republic of traq . Number/2063/office/2008
Higher Judicial Council . Date: 12/24/2008
Office of the President of the Council |
Judicial Order

Based on the provisions of articles (360) and (361) in the Procedures of Criminal Trials, Number
(23) for the year 1971, with the guidance of the seventh séction of order (12) for the year 2004,
followed by order number (Extradition/6500 on 11/4/2004, it is decided:

To grant the Chief Public Prosecutor the authority to certify the extradition files of the accused
after our approval.

[Signature]

Madhat ail-Mahmud | [Signature]
President of the High Judicial Council 12/24/2008
Copy to:

* Chief public prosecutor — his excellency the chief public prosecutor to please be aware
with appreciation

* Foreign Ministry/ Legal department — please be aware with appreciation

e Ministry of the Interior/ Arab and International Police Department

Wal"
_ Higher Judicial Counc! traq ~- Baghdac
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‘in the name of Allah the Merciful the Campanianate

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Republic of Iraq Number: 213
High Judicial Council Date: 6/3/2018
Presidency of Baghdad Appellate Court/Al-Karkh Federal (Service and Collection)}

 Al-Karkh inquiry Court Specializing in Terrorism Cases
To/Chief Public Prosecutor / Extradition Section
Pricrity/ Extradition File
Greetings, |

We send to you the extradition file with the information bulletin associated with the accused fraqi
national, (Omar Abdulsattar Ameen Husayn al-Rawi} pursuant to article (€06/1/A) of the iraq Statute,
Piease receive with appreciation , .

[Seal]
[Signature] , Higher judicial Council
First Judge Presidency of Baghdad Al-Karkh Federal Appellate Court. -
Ammar Rashid Hamid _ At-Karkh Inquiry Court

Specializing in Terrorism Cases
Outgoing
Attachments/

® Extradition file
_® | Information bulletin (3 copies}

 

Copy of this to/

~The office of the judicial investigator specialized in the Directorate of Military Intelligences
cases/the case associated with the accused above for follow up. With appreciation —_

-. Inquiry office/for saving with appreciation

- Qutgoing

seeeeee ~~ -Investigator Ahmad Qasim 2018. --------se-e-nree este cecre ence nent tnne ttt crane teres

dudijat council ~ Markh Cauct Appeal - vag - Bachdad

Mig Al Rabora Strent in bhanen Agel ond Hurrd Quarter

  
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Republic of traq

Higher Judicial Council

Head of Baghdad Appellate Court/Al-Karkh Federal
al-Karkh inquiry Court specialized in terrorism cases
(17351)

. Arrest Warrant and Inquiry
No.: (7) .
Date: 3/6/2018

. To all law enforcement officials and police personnel, you are hereby authorized and tasked to
arrest — Omar Abdulsattar Ameen Husayn al-Rawi, also known as Omar Abdulsattar Ameen.

_ Nationality: iraq
Holding passport No.: (G1975150)

Because he is accused in aécordance with the provisions of legal article (406/1/A) of the tragi
Statute. For that, we are authorizing you to detain him in your custody until he is brought
before us to answer the charges against him for which there is a penalty in accordance with the
provisions of article (406/1/A) in the traqi statute number 111 for the year 1969 Amended.

Judge . [Seai/High Judicial Council
Name: DEAA JAAFAR Presidency of Baghdad Federal Karkh Appellate court
[Signature] . AbKarkh Inquiry Court

Terrorism Cases]
[Signature]
Judge Deaa Jaafar

5/16/2018

 

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interior Ministry information Bulletin ' Photo of the Suspect
Arab and international Police Command ; : if available
Bulletin No. Date:

identifying information about the wanted accused
Four Part Name and Alias: Omar Abdulsattar Ameen Husayn al-Rawi
Alias: Not Available | |
Date and Place of Birth and religion: 12/20/1973/ Muslim
Current Place of Residence in Iraq:
Previous Place of Residence in Iraq: Al-Anbar / Rawah
Passpart Number if Available: (G1975150)
Mother's Name: Fatimah Sakin
Citizenship: lraqi |
"Nationality: Arab
Occupation: Wage-earner
Judicial Information _
es
Statute where the crime was mentioned: iraqi Penal Code No. 111 for the year 1969 Amended
Type of Crime: Felony Murder |
Legal Article: 406/1/A iraqi Statute
Date of Crime: 6/22/2014 .

Accomplices: Muhammad Abid Manaf, Ahmad Shihab Ahmad Badr al-Rawi, Bilal Adib Sa’id.
Ghazwan Salih Ma’ad, Hadwan Rafiq \‘taywi Ahmad. ‘lzzah and Ahmad Farhan Jal’ut Bakhit al-
Rawi. ,

Place where the Crime was Committed: Al-Anbar/Rawah
Maximum Penalty Possible: Execution

‘Murder method: Organized killing by an armed group
Court: Al-Karkh inquiry Court specialized in terrarism cases

Agency: National Security Service

 

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Station:

Name of Investigator: Ahmad Qasim |

Arrest Warrants

Issuing authority, date, legal article and name of the Judge

issuing Authority: Al-Karkh Inquiry Court specializing in terrorism Cases.

Legal Article: 406/1/A iraqi Statute
[Signature]

Name ot Judge: Deaa Jaafar [Signature] 5/16/2018

Judge DEAA JAAFAR 5/16/2018

Potential Places where the accused might be present:
Places where he may visit: United States of America/California
Places where he may reside: Same place as above

Places where he may be present: Same plaée as above

(Seal/High Judicial Council

Court

Presidency of Baghdad Federal Karkh Appellate .

Al-Karkh Inquiry Court

Terrorism Cases]

judge: Deaa Jaafar

[Signature] 5/16/2018 -

General Description
Height: Average

- Weight: Not available

' Hair Color: Black

Camplexion: Tan

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Eye Color: Black

Disabilities and Distinctive Marks: See attached photo of the suspect,
Summary about the Case

- On 6/22/2014, an armed group comprised of several individuals riding in four pickup vehicles.
armed with Kalashnikov rifles. They started shooting heavily at the victim's house (Ihsan
Abdulhafi7 Jasim) who was killed by the accused, (Omar Abdulsattar Ameen). Omar had several
individuals with him and some of them were identified as follows: Abid Manaf, Ahmad Shihab
Ahmad Badir al-Rawi, Bilal Adib Sa’ id, Ghazwan Salih Ma‘ad, Hadwan Rafiq I'taywi Ahmad ‘izzah _
and Ahmad Farhan Jal’ut Bakhit al-Rawi.

   
 

   

as able to identify the accused after
was shown multiple photos as it is indicated in the attached identification file.
stated thadiiiitn. accused (Omar Abdulsattar Ameen} shooting the victim {Ihsan
 Abdulhafiz Jasim).

SE the suspect (Omar Abdulsattar Ameen). Death certificate

is attached for the victim (Ihsan Abduthafiz Jasim) along with the inspection report, a sketch of
the place where the incident took place to support that and the report issued by the National
Security Service. The militants also declared that they killed the victim (Ihsan Abdulhafiz Jasim)
on social websites as it is illustrated in the clarifying documents attached with the investigative
reports. The National Security Service also showed through intelligence reports and the - .

investigative record the same information provided a

Accomplices

{Muhammad Abid Manaf, Ahmad Shihab Ahmad Badr al-Rawi, Bilal Adib Sa'id Ghazwan Salih
Ma‘ad. Hadwan Rafig I'taywi and Ahmad Farhan Jal'ut Bakhit al-Rawi).

Other information.

[Seai/tigh Judictal Council

Presidency of Baghdad Federal Karkh Appellate court .
Al-Karkh inquiry Court |

Terrorism Cases]

 

fudge
_ Beaa Jaafar (Signature)

5/16/2018

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Case Summary of the accused (Omar Abdulsattar Ameen Husayn al-Rawi)

On 6/22/2014, an armed group comprised of several individuals riding in four pickup vehicles,
‘armed with Kalashnikov rifles. They started shooting heavily at the victim’s house (Ihsan
Abdulhafiz Jasim) whoa was killed by the accused, (Omar Abdulsattar Ameen). Omar had several
individuals with him and some of them were identified as follows: Abid Manaf, Ahmad Shihab
Ahmad Badir al-Rawi, Bilal Adib Sa’id, Ghazwan Salih Ma‘ad, Hadwan Rafiq I’taywi Ahmad ‘tzzah
and Ahmad Farhan Jal'ut Bakhit al-Rawi,

 
  
 

    
 

was able to identify the accused afte
‘was shown multiple photos as it is indicated in the attached identification file.

stated thal the accused (Omar Abdulsattar Ameen) shooting the victim (Ihsan
Abdulhafiz Jasim).

Po the suspect (Omar Abdulsattar Ameen). Death certificate

is attached for the victim (Ihsan Abdulhafiz Jasin) along with the inspection report, a sketch of
the place where the incident took place to support that and the report issued by the National
Security Service, The militants also declared that they killed the victim ({hsan Abduthafiz Jasim)
on social websites as it is illustrated in the clarifying documents attached with the investigative
reports. The National Security Service also showed through intelligence reports.and the

investigative record the same information provided by iy

The Judge [ Signature]
DEAA JAAFAR
5/16/2018

[Seal/Hizh Judicial Council
Presidency of Baghdad Federal Karkh Appellate court ©
Al-Karkh inquiry Court

Terrorism Cases}

 

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LEGAL ARTICLE (406) OF THE IRAQI LEGAL CODE NUMBER 111 FOR Tit YEAR 1968 AS AMENDED
WHICH 1S RELATED TO (OMAR ARDLHSATTAR AMFEN Hiisa¥n al-Rawi)’s CASE

Article 406 (1) Any person who wilfully kifls another is punishable by death In the tollowmng
"circumstances: ,

(a) such killing is prameditated.

(b) ff such killing occurs as a result of the use of toxic substances or expiosives.

(c} ifthe mative for such killing is base or such killing is in exchange for money or if the
offender uses brutal methods in the commission of the offence.

(d} if the victim is a parent of the offender.

(e} ifthe victim is a public official or agent while in the course of executing his duty o:
employment or ff he is killed as a consequence of such duty or employment.

(f) > ifthe offender intends to kill two or more pecple and does so as a result. of a single act.

(2) if the murder is related to one or more other murders or attempted murders.

(h} lf the killing is committed as a prelude to the cammission of a felony or misdemeanor

punishable by a period of detention of nat less than 1 year ar in order to facilitate the
commission of such offence or while carrying out such offence or in order to enable the
offender or accessory to make his escape cr avo:d punishment.
(a If the offender has been sentenced to life imprisonment for murder and he commits
murder or attempts to do so during the term of his sentence.
{2} The penalty wiil be death ar life imprisonment in the following circumstances:

(a) It the offender intends to kill one person but his action results in the death of two or
more persons.
(b} if the offender mutilates the body of the victim. _
(c} if the offender sentenced to life imprisonment.in circumstances other than those
- described in Sub-Articles (a} (i) of this Article and he commits murder during the term af
his sentence. oe

’ Judge . [Seal/High Judicial Council

[Signature] ‘Presidency of Baghdad Federal Karkh Appellate court
DEAA GAAFAR ‘ Al-Karkh Inquiry Court
5/16/2018 | Terrorism Cases!

 

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The accused: - (Omar Abdulsattar Ameen Husayn al-Rawi)

_ Statement to indicate that the lragi statute sides with the maximum penalty as a
punishment.

The fraqi penal code number, 111 for the year 1969, which, in effect, applies the maximum
‘penalty in accordance with provisions of legal article (23), which states (Crimes in terms of —
gravity are three kinds: felonies, misdemeanor and violations. The crime type is determined by
the severity of the punishment assigned to it in the statute, and if there is a crime that carries |
both jail time and a fine, then the crime type is determined by the term of imprisonment set
forth in the statute). . ,

- judge . [Seal/High Judicial Council

[Signature} Presidency of Baghdad Federal Karkh Appellate court
DEAA GAAFAR - Al-Karkh Inquiry Court
5/16/2018 a - Terrorism Cases]

 

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- The accused: Omar Abdulsattar Ameen al-Rawi

‘$tatement to indicate that he head of the High Judicial Council replaced the Minister of Justice in”
the iraqi statute.

The head of the High Judicial Council replaced the Minister of Justice in accordance with order
number (35) for the year 2003 by the dissolved Coalition Authority, which pertains to the
formation of the High Judicial Council, and also section (7) of memorandum number (12) for the
year 2004 by the dissolved Coalition Authority, which includes the interpretation of all
references to the Ministry of Justice or the Minister of Justice in the iraqi law where it is
necessary and appropriate to preserve the independence of the judicial system as these
references are for the judicial Council or its Head and that the judicial Authority is independent
from the Executive Authority (Ministry of Justice) in accordance with the provisions of articles
(47, 87 and 88 of the lraqi Constitution for the year 2005).

Judge . : [Seal/High Judicial Council

[Signature] a Presidency of Baghdad Federal Karkh Appellate court
DEAA GAAFAR — . . AL-Karkh Inquiry Court |
5/16/2018 . Terrorism Cases]

 

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Photo of the accused (Omar Abdulsattar Ameen Husayn)

_ {Seal/High Judicial Council

Presidency Baghdad Federal Al-Karkh Appellate Court
Al-Karkh Inquiry Court .

Terrorism Cases}

 

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Case 2:18-mj-00152-EFB Document 1 Filed 08/14/18 Page 36 of 94 |

Al-Karkh inquiry Court specialized in terrorism cases
Office of the Judicial Investigator Specialized in

Deciding National Security Cases

_ Index of the investigative documents relative to the accused fugitive (Omar Abdulsattar
Ameen) in accordance with the provisions of article 406/1/A in the iraqi penal code
number 111 for the year 1 1969 Amended.

 

 

' From | To | Notes |
4, Index
a) "Investigative procedures _
7. Opening of the record

 

 

    

Inspection and a sketch of the place of incident + illustrative photos of the —
_ | area of the incident _
27. 32 Identification record along with the array of photos for suspects that were
ocd _shown in the process
- 33 | 36 | Intelligence reports |
37 45. Reports by the judicial investigator and decisions by the investigative
pecan _judge
46 60. Priorities and information about the accused fugitive (Omar Abdulsattar
_ Ameen)
_ (Report about the names of members of the family of the accused + Copy -
_ of the civil status record of the accused with members of his family +
_ , Photographs of the suspect Omar Abdulsattar + Digital copy of the
_ computer report associated with the issuance of a passport for the
suspect Omar Abdulsattar)
61 | 73. Priorities and information associated with killing incident of the victim
_(hsan Abdulhafiz Jasim) _

 

 

 

Judicial investigator | ' [Seal]

[Signature], . Higher Judicial Council |

Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh inquiry Court

Terrorism Cases

 

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Investigative Procedures

[Seal]
Higher Judicial Council .
Presidency of Baghdad Al-Karkh Federal Appellate Court
~ AkKarkh Inquiry Court

Terrorism Cases

 

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’ Al-Karkh inquiry Court
Specialized in Terrorism Cases
Clarification of an investigative process |

Arrest warrants issued by iraqi courts in accordance to the provisions of the legal articles
mentioned in the Iraqi statute number 111, for the year 1969 Amended, stay in effect (They
don’t become invalid due to a statute of limitations}. This is according to legal article 94/A of
the criminal procedure code (23) for the year 1971 which states (The arrest warrant is valid in
all areas of Iraq and must be executed by anyone to whom it is sent. It remains current until it
has been executed or cancelled by the party issuing it or by a higher authority with legal right to
do so}.

Pursuant to the Iraqi Penal Code 111 for the year 1969 Amended, there is no statute of
limitations for the charge of murder and the warrant is in no way time barred.

[Seal/Higher Judicial Council

The Presidency of [Signature]

Baghdad Federal Karkh Appellate court Deaa. Jaafar
Al-Karkh Inquiry Court a [Seal]
_ Terrorism Cases} Pa 5/16/2018

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Al-Karkh Inquiry Court
. Specialized in Terrorism Cases
’ Clarification of an investigation pracess

' Murder, according to the provisions of article 406/1/A in the lraqi Penal Code, is one of the
premeditated crimes for which the Iraqi Penal Code stipulated the presence af criminal intent
according ta the Iraqi Penal Code number 111 for the year 1969 Amended, which states:
Article: (33)

(1) Criminal intent is the existence in the mind of the offender of an intention to cammit the
criminal act with a view to realizing the consequence of the offence that has occurred or any
other criminal consequence.
(2) intent maybe simple or premeditated.

(3) Premeditation is the resolute contemplation of the commission of an offence before itis.
committed and is far removed from an outburst of jealous rage or mental turmoil.

(4) Premeditation can be established whether or not the intent of the offender is directed -
towards a specific person or merely a persan he has met or encountered or whether the intent
is dependent on something happening or on some condition.

This was explained for the investigative process.

 

(Seal/Higher Judicial Council

The presidency of - [Signature]

Baghdad Federal Karkh Appellate court, . . Deaa Jaafar

Al-Karkh Inquiry Court . [Seal] .

Terrorism C ases] . 5/16/2018
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Al-Karkh Inquiry Court . it a
Specialized in Terrorism Cases
Clarification of an investigation process

The iraqi Penal Code number, 111 for the year 1969 Amended, clarified who is the principle, who is the
accessory and what is the penaity for eéch of them. This is in accordance with what is stated in articles
(47, 48, 49 end 50}; they read:

Article 47

The following are considered to be principals to an offence.

{1} Any person who commits an offence by himself or with others. .

(2) Any person who participates in the commission of an offence that consists of a number of acts and
who willfully carries out one of those acts during the commission af that offence.

(3) Any person who incites another in any way to commit an act contributing to an offence if that person
is MOL any way criminally liable for the offence.

Article 48
. The follawing are considered to be accessories to an offence:
{1} Any person wha incites another to commit an offence and (hat affence is committed on the basis of
such incitement.
(2) Any person wha conspires with others to commit an offence and that offence ts committed on the
basis of such conspiracy.
(3) Any person who knowingly supplies the principal to an cffence with a weapon, instrurnent or.
anything else te commit an offence or deliberately assists him in any other way to carry out those acts:
for which he has received assistance.
Articie 49
An accessory is considered to be a principal! to an offence under the provisions of Article 48, if he is
present during the commission of that offence or any act contributing to that offence.

Articte SO

(1) Any person who participates in the commission of an offence as principal or accessory is punishable
’ by-the penalty prescribed for that offence unless otherwise stipulated by law. .

(2) An accessory is punishable by the penalty prescribed by law, even though the principai is nat

punishable due to lack of criminal intent on his part or for other circumstances in respect of him.

This was expia‘ned for the investigation process.

(Seal/High Judicial Council

The presidency of

Baghdad Federal Karkh Appellate court — _ [Signature]
Al-Karkh Inquiry Court | Deaa Jaafar
Terrorism Cases] . . . [Seal]

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5/16/2018

(Opening of the Record)

 

[Seal]

Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court

Terrorism Cases

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(Signature)

 

Central inquiry Court
Office of the Judicia’ investigator Specialized
in National Security Agency's Cases ©
4/12/2018 .

Opening of the Record

This court has received an intelligence regort from the National Security Agency / Department of -
Operations and intelligence Support. The report contains details about the murder incident of the
victim, officer (ihsan Abdulhafiz Jasim), in the District of Rawah, Al-Anbar Province, by an armed terrorist
group.

 
   

| Based on this, a record has

Judicial Investigator

 

[Signature]
' [Seal}
Higher Judicial Council |
| Presidency of Baghdad Al-Karkh Federal Appellate Court
| | Al-Karkh inquiry Court. . |

Terrorism Cases

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[Seal]
Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
| Al-Karkh Inquiry Court |

Terrorsm Cases

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Higher Judicial Council

Central inquiry Court

 
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Seal of the Higher Judicial Council Signature

Iraqi Central Criminal Court Seal of the Judge
Inquiry Court Judge Dhuya’ Ja’far Laftah

4/25/2018

ITN: Seals, signatures and thumbprints are the same on both pages of the documents}

* [Signature]
[Seal]
: Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court
Terrorism Cases

_ [Same sea! on both pages of the document]

 

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Higher Judicial Council

Central Inquiry.Court

 
 

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Seal of the Higher Judicial Council Signature

iraqi Central Criminal Court Seal of the Judge
inquiry Court Judge Dhuya’ Ja’far Laftah
4/25/2018 |

[IN. Seals, signatures and thumbprints are the same on both pages of the documents}

{Signature}
[Seal]
Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court
| ‘ . | "Terrorism Cases

[Same seal on both top pages of the document]

 

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[Seal
"Higher Judicial Council |
Presidency of Baghdad Al-Karkh Fedéral Appellate Court
| Al-Karkh Inquiry Court

Terrorism Cases

 

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Case 2:18-mj-00152-EFB Document1 Filed 08/14/18 Rage 48 otros

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Higher Judicial Council a a
Central Inquiry Court Be Bae

 

The witness was shown several photos of individuals working for the islamic State of Traq
Organization and was able to identify the accused fugitive, (Omar Abdulsattar Ameen) which is

_ attached with the investigative documents. 14
 

 

 

Case 2;18-mj-00152-EFB Document1 Filed 08/14/18 Page 50 of 94

Witness Seal of the Higher Judicial Council Signaiure

Signature: iraqi Central Criminal Court | Seal of the Judge
Co inquiry Court Judge Dhuya’ Ja’far Laftah

[Witness’s finger print] | . 4/15/2018

{TN: Seals, signatures and thumboprints are the same on both pages of the documents]

[Signature]
(Seall
Higher Judiciai Council
Presidency of Baghdad Al-Karkh Federal Appellate Court —
Al-Karkh Inquiry Court
Terrorism Cases

[Same seal on both top pages of the document}

 

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Inspection and a sketch of
_ the place of incident

Descriptive photos of the ~
areaoftheincident |

Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court .

Terrorism Cases

 

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Central inquiry Court

5/ / 2018

Inspection and sketch report where the incident took place

The place where the incident took place is about (1 Kilometer) from the center af the Rawah District

wa

Pravince inside. the parameter of Rawah.

Tn bu

Nothing is beneficial here for the investigation.
‘Signaturel
Judicial investigator

Anmad Salman

Side Street
fb. to J
; ! Residential ons seen
* Homes GE
side | - yt ‘
sreet | ( i. Victim / Vacant .
y ld | vacant Home Land '
> fj Land _ ee
Home ‘
Entrance QP Gime Took Place

}

Side Street

1?

oe mnenmatene a

The place where the incident took place is located within Rawah District which 's part of the A Anbar

itis about a killing incident and the kidnapping of three individuals by en armed group
The place where the incident took place is a residential home located in an agricultural area.
The place where the incident took place (the home} can be reached through multipie roads

Area Entrance

 

 

Side j - Residential
Street | ' Hornes ©
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Case 2:18-mj-00152-EFB Document1 Filed 08/14/18 Page 53 of 94

Low Vacant Area

Vailey

vo” Tigris River ms . “a

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Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court

Terrorism Cases

 

 

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' Case 2:18-mj-00152-EFB Document1 Filed 08/14/18 Page 56 of 94

the following coordinates i)

[Signature] ~

Roads that tead to the victim’s (Ihsan Abdulhafiz) house in Al-Anbar Province / Rawah and according to

[Top Seal on photo 1]
[Seal] |
Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court

Terrorism Cases

 

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Case 2:18-mj-00152-EFB Document 1 Filed 08/14/18 Page 59 of 94

Aerial photo of the victim’s (Ihsan Abdulnafiz) house in the Province of Al-Anbar/Rawan and according
to the following coordinates MM) (The city is identified as New Rawah]

[Signature]
{Top Seal on photo 2]
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Presidency of Baghdad Al-Karkh Federai Appellate Court
_At-Karkh inquiry Court .

_ Terrorism Cases

 

 
 

 

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Phato of the victim’s (Ihsan Abduthafiz} house and photos of the roads that lead to it in the Province of
Ai-Anbar / Rawah

Upper teft: The road from the backside of the house
Upper right: The road from the left side |
Lower left: Road from the right side

Lower right: the side that faces the victim’s house

The photo standing alone is the victim's house

The photo in the middle: this is the map of Rawah with its coordinates

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Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh tnquiry Court

Terrorism Cases

 

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. [Signature]
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Al-Karkh inquiry Court

Terrorism Cases

 

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— Identification record along
_ with the array of photos for |
_ suspects that were shown in
the process ©

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Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court -

_ Terrorism Cases

 

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Case 2:18-mj-00152-EFB Document1 Filed 08/14/18 Page 67 of 94

Central Inquiry Court
Office of the Judicial Investigator
. identification Report

Implementation of a decision by the inquiry Judge at the Central Court includes the execution
of ar identification procedure for photos of working members of the islamic State in |raq. These
photos were shown to the witness _after the witness was given the legal oath. The witness
GE iooked at the photos one after the other, and identified  — the photo of the
accused fugitive (Omar Abdulsattar Ameen), which is attached herein along with the inquiry
documents, as one of the militants who killed the victim (Jhsan Abduihafiz) and the kidnapping
of the victims (Ra’fat, Ghassan and Muhammad). Based on that, this report was properly

’ stamped by me.

 

[Signature] {Thump print]

fi] Coo iat [Signature!

4/15/2018 | oe | The Witness
[Seai]

Higher Judicial Council
Presidency of Baghdad Ai-Karkh Federal Appellate Count
A}-Karkh Inquiry Court

Terrorism Cases

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oo \wy Case 2:18-mj-00152-EFB Document1 Filed 08/14/18 Page 68 of 94

 
 

 

The photo that was shown the witness

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‘Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate

  

Al-Karkh Inquiry Court

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[Seal on the previous two photos]
Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court -

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Intelligence Reports _

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Higher Judicial Council
Presidency of Baghdad Al-Karkn Federal Appeilate Court
Al-Karkh Inquiry Court

Terrorism Cases

 

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National Security Service _

Operations and Intelligence Suppart Department

Your Excellency the investigative judge of the Central Court
Priority/Intelligence Report |

Duc to the intelligence efforts and following up on the organized operations carried out by a
number of criminal gangs against the Iraqi peopie, our Agency's units began to collect and
analyze information about the murder incident of an individual in Rawah District. This individual
used to work as an officer in the Iraqi Police and his name is (Ihsan Abdulhafiz Abid Jasim}. a

Hoping that you review and make the proper decision with utmost appreciation.

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’ General Director . ts
Operations and Intelligence Support Department ats et
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4/11/2018 Bok,
{Signature}
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Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court

Terrorism Cases —

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REPUBLICOF IRAQ —TLIN.S.S Logo}
UNS S
To/ The Esteemed Judicial Investigator of the Al-Karkh inquiry Court specialized terrorism cases.
Intelligence report about the accused fugitive (Omar Abdulsattar Ameen Husayn)
, Peace, mercy and blessings of God,

implementation of the decision by the investigative judge of the Central inquiry Court on
4/25/2018, paragraph (4) consists of the preparation of an intelligence report regarding (Omar
Abdulsattar Ameen Husayn al-Rawi). Through the inspection of our Agency’s database, it was
revealed that the above mentioned individual was born in 1973, the name of his mother is
Fatimah Sakin Abdullatif. He lives in the province of AL Anbar Rawah District ~ village of Al-
Sarhaniyah. He has ten brothers and three sisters. He works in the trade of building material
supplies. He also has a shopping centers in the Rawah District. in 2004, he worked with terrorist
cells and he was one of the founders of al-Tawhid Wa al-Jihad (Al-Qa‘ida Organization) and one
‘of the close associates of the terrorist. Abu-Mus‘ab al-Zarqawi. At that time, channels of finance
- were opened to him and became the financial officer for the Al-Qa’idah Organization in Al-
Anbar, in addition to taking control over the military leadership in all western areas of Al-Qa‘im
and Rawah. He committed the most heinous crimes against the citizens and security forces at
that time. And in 2006 he launched an armed attack against the army headquarters in Al
-Karablah Area in Al-Qa'im, where he took soldiers as prisoners and executed them at the same
time. And in the same year, he launched an armed attack against the army headquarters where
several soldiers were killed. And in 2007, the terrorist, (OQmar Abdulsattar Ameen) worked
under the Emir for Al-Qa’idah in Al-Anbar, the terrorist (Ghassan Muhammad Ameen al-Rawi}
who is the paternal cousin for the terrorist (Omar Abduisattar}. All of his brothers followed him
without exception. But the one brother that was more brutal than all and earned the rank of a
security Emir, was the terrorist (Bilal Abdulsattar}. And on 6/22/2014 and after terrorist groups
seized control over the District of Rawah, the terrorist (Omar Abdulsattar) and other members
of his terrorist group, went to the home of (Ihsan Abduthafiz} where he shet him to death in
front of his house which is located in the District of Rawah.

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pond . “ ~ “,

  
  

 

Please review and decide as you see fit with appreciation.

 
 

[Signature| | ) ne re ee
Director General ye
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Operations and intelligence Support Department

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Presidency of Baghdad Al-Karkh Federal Appellate Court
| Al-Karkh Inquiry Court

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Reports by the judicial —
investigator and decisions by
the investigative judge

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Higher Judicial Council
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh Inquiry Court -

Terrorism Cases.

 

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Higher Judicial Council
Office of the Judicial Investigator

Date: 4/17/2018

To the esteemed Inquiry Judge of the Inquiry Court at the Central Court sir
Greetings and appreciations, -

The court has received. an intelligence report which revealed details associated to the
murder of the victim Ihsan Abdulhafiz Jasim in the Rawah area by an armed group and

Please review the content and make the appropriate decision with our appreciation.

Judicial investigator
[Signature]
Judicial investigator

1. | reviewed the intelligence report provided by the National Security Service, Department
of Operation and Intelligence Support, and far the importance and the seriousness of

the information, the witness {III—————is [iiiiiiiiiii

2. inform the Public Prosecution

[Seal/signature] [Top Seal/Higher Judicial Council
Judge Deaa Jaatar Laftah . . . ' the presidency ot
4/12/2018 ‘Baghdad Federal Al-Karkh Appellate Court

Al-Karkh inquiry Court
Terrorism Cases}

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Higher Judicial Council

Office of the Judicial Investigator

4/15/2018 |

To the esteemed Inquiry Judge of the inquiry Court at the Central Court sir

Greetings and appreciations,

- The witness SIMI is present at this court; we will bring te witness

your Excellency to take @ judicial statement.
Please review the content and make the appropriate decision with our appreciation.
Judicial Investigator

ee ' {Signature]

Judicial Investigator

1. { wrote down the witness statement ES me after the witness

took the legal oath and attached it with the investigative documents.
ee
The victim's death certificate will be attached
A record has been prepared to identify the fugitive, Omar Abdulsattar Ameen, who was
mentioned in the complaint by the witness, who was
able to identify his photo. The record was attached with the investigative documents.
5. Aninspection and a sketch will be executed at the place of incident, and accurate,

descriptive photos of the place of incident will be prepared. a

6. Inform the Public Prosecution.

Powe

[Seal/signature] : _ {Top Seal/Higher Judicial Council

- Judge Desa Jaafar Laftah — Presidency of
4/15/2018 Baghdad Federal Al-Karkh Appellate court

Al-Karkh Inquiry Court
‘Terrorism Cases} |

{Signature
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Higher Judicial Council

Office of the Judicial Investigator

4/25/2018

To the esteemed Inquiry Judge of the Inquiry Court at the Central Court sir

Greetings and appreciations,

—— are present at this court,

_and we will bring them over to your Excellency to take their statements.
Hoping that you review the content and make the appropriate decision with our appreciation.
judicial Investigator
[Signature]

Judicial Investigator

1. I wrote down the EE statements (iis

after having them take the legal oath by me, and it was attached with the investigative
documents.

2 ee the victim's death certificate
Ml :: attached with investigative documents and a proper investigative measure
will be taken for this.

3. We confirm the promptness for arranging an inspection and a sketch of the place of the
incident.

4 The National Security Service i is tasked to prepare a detailed intelligence report
regarding the information provided by the plaintiffs.

5. The National Security Service is asked to inquire about the names that were provided in
the complaint and they are (Abu-Anas al-Samirra’i, Muhammad Abid Manaf,
Muhammad Abbud al-Suri, Bilal Adib Sa‘id and Salih Ma‘ad)

6. The copy of Omar Abdulsattar Ameen’s civil status record is attached and the
Directorate of Civil Status and Passports will be contacted for that purpose.
7. Inform the public prosecution .

[Seal/ signatu re]

 

judge Deaa Jaafartaftah | 8 * .
4/25/2018

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. Case 2:18-mj-00152-EFB ‘Document 1 Filed 08/14/18 Page 83 of 94

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: {Seal on the document}
| Higher Judicial Counci!
Presidency of Baghdad Al-Karkh Federal Appellate Court
Al-Karkh inquiry Court

Terrorism: Cases

 

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Higher Judicial Council senna’ sam ad

Office of the Judicial Investigator

5/14/2018

To the esteemed inquiry Judge at the Al-Karkh Inquiry Court specialized in terrorism cases

Greetings and appreciation, |

We present your excellency with the investigative documents related to the killing
incident of the victim (Ihsan Abdulhafiz Jasim)
Implementation of the decision by this court included the execution of an inspection
and a sketch of the place of the incident; an inspection and a sketch of the place of
incident have been completed and it was attached with the investigative documents.
The National Security Service provided us with a letter from the Department of Civil
Status, which included a computerized report and a photo of the name mentioned in
the complaint submitted against the accused, Omar Abdulsattar Amin.

“We enclase herein the report by the National Security Service, which includes an inquiry

on the validity of the information provided Pt Please review it.

The report revealed that the full name of the accused is Omar Abdulsattar Ameen, as
indicated by the answer given by the Department of Civil Status.

Hoping ‘that you review and make the appropriate decision with our appreciation.

Judicial investigator

[Signature]

1,

3.

Judicial Investigator

{ have reviewed what was stated in the statement of the witness,

SE PE. the inspection reports, and the intelligence

reports provided by the National Security Service; the court decided to issue an arrest
warrant and inquiry against the suspects Omar Abdulsattar Ameen Husayn al-Rawi,
Ahmad Shihab Ahmad Badir al-Rawi, Hadwan Rafiq I’taywi Ahmad ‘Izzah and Ahmad
Farhan Jal'ut Bakhit al-Rawi in accordance with legal article 406/1/A in the traqi Legal
Statute number 111 for the year 1969 Amended, and to inquire on their presence and
to seize anything that relates to the crime.

We confirm the promptness to the inquiry of the full names of the suspects each of the
following, Abu-Anas al-Samirra’i, Muhammad Abid Manaf, Bilal Adib Sa’id and Ghazwan
Salih Ma‘ad.

Inform the Public Prosecution.

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Case 2:18-mj-00152-EFB Document 1 Filed 08/14/18 Page 85 of 94

{Seal/signature] [Top Seal/Higher Judicial Councii

Judge Deaa Jaafar Laftah Presidency of
~ §/14/2018 Baghdad Federal Al-Karkh Appellate court

Al-Karkh Inquiry Court
Terrorism Cases]

[Signature]

 

Higher Judicial Council

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Office of the Judicial Investigator

5/16/2018
To the esteemed inquiry Judge of at the Al-Karkh Court specialized in terrorism cases
Greeting and appreciation,

- We present to your Excellency the inquiry documents related to the murder incident of
| the victim (Ihsan Abduihafiz Jasim), .

- Weattach the intelligence report issued by the Directorate of Operations and
intelligence Support, which indicates the state of the efforts that are being made to
carry out the arrest warrants against the accused fugitives; its content revealed that
Omar Abdulsattar Ameen is currently in the United States of America.

Please review the content and make the appropriate decision with our appreciation.
Judicial investigator : |
[Signature]

| Judicial investigator

1. Lhave reviewed; the Arab and International Police will be contacted and an
international arrest warrant will be arranged in order to execute it properly.
2. Inform the Public Prosecution.

{Seal/signature] . (Top Seal/Higher Judicial Council
Judge Deaa Jaafar Laftah __. Presidency of
5/16/2018 : Baghdad Federal Al-Karkh Appellate court

Al-Karkh inquiry Court

Terrorism Cases]

 

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’ Al-Karkh Inquiry Court

 
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Specialized in Terrorism Cases

5/29/2018 -

To the esteemed inquiry Judge of at the Al-Karkh Court specialized in terrorism cases
Greeting and appreciation, , |

- We present-to your Excellency the inquiry documents related to the killing incident of
the victim (thsan Abduthafiz Jasim},

Please review the content and make the appropriate decision with our appreciation.
‘Judicial Investigator

{Signature}

Judicial Investigator

1- thave reviewed: an extradition file will be organized for the accused (Omar Abdulsattar
Ameen Husayn al-Rawi}, and the file will be sent to the Chief Public Prosecutor,

: Extradition Section.
[Signature]

Judge Jabbar Husayn

[Signature]
[Top Seal/Higher Judicial Council
The presidency of
Baghdad Federal Karkh Appellate court
| Al-Karkh Inquiry Court

Terrorism Cases]

 

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Priorities and information about the accused fugitive
| (Omar Abdulsattar Ameen)

(Report about. the names of members of the family of
the accused + Copy of the civil status record of the
accused with members of his family + Photographs

of the suspect Omar Abdulsattar + Digital copy of
the computer report associated with the issuance of
a passport for the suspect Omar Abdulsattar) —

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Presidency of Baghdad Al-Karkh Federal Appellate Court
. Al-Karkh Inquiry Court
Terrorism Cases
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1.N.S.S
To/ the esteemed Judicial Investigator of the Central Inquiry Court
Peace, mercy and blessings of God, |
P/Priorities
We aré attaching to your Excellency the priorities associated with the victim (Ihsan Abdulhafiz).
For your review and to decide as you See fit... with appreciation.
Attachments . .

- Photos of the victim (2). pages .

- Photos of the accused fugitive (3) pages

- Copy of the accused fugitive’s civil status record (Omar Abdulsattar)

- Photocopy of the report by the Directorate of Civil Status, Passports and Residency with

_ its attachments
- Photos of an inspection sketch.

[Signature]
Director General [. 5]
Department of Operations and Intelligence Su pport
5/7/2018 {Signature}
| [Top Seal/Higher Judicial Council
The presidency of
Baghdad Federal Karkh Appellate court

Al-Karkh Inquiry Court

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Rate the document

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Photo of the accused (Omar Abdulsattar Ameen Husayn) —

 

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Presidency Baghdad Federal Al-Karkh Appellate Court TTT

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Presidency Baghdad Federal Al-Karkh Appellate Court

Al-Karkh Inquiry Court

 

Terrorism Cases]

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The photo presented to the witness for the purpose of identification

 

[Signature]
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Presidency Baghdad Federal Al-Karkh Appellate Court

Al-Karkh inquiry Court

 

Terrorism Cases}

 

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P/ Report about the names of the family of the accused (Omar Abdulsattar)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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No | | Relationship ‘Four-part name and alias of the accused ; /D. O.B (P.0O.B |
1 The accused | Omar Abdulsattar Ameen Husayn al-Sarhan | 12/20/1973 | PAL
a | al-Rawi oe | “Anbar/Annah |
“2 | Father | Abdulsattar Ameen Husayn al-Sarhani al-. | 1934 A.
. Co -Rawi . . . Anbar; fAnnah |
3 | Mother 'Fatimah Sakin Abdullatif Mie. Al
be ee be a Anbar/Annab
“4 ~~ Brother Bilal Abdulsattar Ameen Husayn al-Sarhani ma Al- :
a al-Rawi a _Anbar/Annah |
; Brother Hudhayfah ‘Abdulsattar Amin. Husayn al- | §/1970 a -
| Sarhani al-Rawi [_anbar/Annah |
5 Brother Qutaybah ‘Abdulsattar Ameen Husayn al- iB /1977 _, Al |
a. Sarhani al-Rawi we  , Anbar/Annah |
& — Brother Suhayb Abdulsattar Ameen Husayn al Mis77— A .
a Sarhani al-Rawi : | Anbar/Annah |
‘7 Brother Qusay Abdulsattar Ameen Husayn al- MB/ieso Al
DG Sarhani al-Rawi Anbar/Annah
| 8 Brother Uday Abdulsattar Ameen Husayn al-Sarhani Mise Al- .
fj abRawi ~ Anbar/Annah
ig. | Brother | Lu’ay Abdulsattar Ameen Husayn al-Sarhani - 1983 Al-
| al-Rawi . —.. Anbar/Annah |
10, "Brother Muhammad Abdulsattar Ameen Husayn al-  f/1987 —Al- ot,
LL Sarhiani at-Rawi _ Anbar/Annab |
/11 | Brother Mustafa Abdulsattar Ameen Husayn al ~ FBis90 ae
Lo ___| Sarhani-al-Rawi a " Anbar/Annah |
/12 Brother Ayman Abdulsattar Ameen Husayn al- M/1964 al
foe fen Sarhani ai-Rawi co Anbar/Annah |
2 13 Sister Khansa’ Abdulsattar Ameen Husayn al- M/is72 AL
Sarhani al-Rawi = Anbar/Annah
14 | Sister Damya’ Abdulsattar Ameen n Husayn al- M1979 «aC
a Sarhani al-Rawi Anbar/Annah |
115 | Sister _ Muna Abdulsattar Ameen Husayn al (iccs—Al-
: , Sarhani al-Rawi 4 : Anbar/Annah_

 

 
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Presidency Baghdad Federal Al-Karkh Appellate Court
. Al-Karkh Inquiry Court |

Terrorism Cases}

 

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